Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 1 of 76 Page ID
                                 #:1679




                                                                      EX 39
                                                                       1517
Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 2 of 76 Page ID
                                 #:1680




                                                                      EX 39
                                                                       1518
Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 3 of 76 Page ID
                                 #:1681




                                                                      EX 39
                                                                       1519
Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 4 of 76 Page ID
                                 #:1682




                                                                      EX 39
                                                                       1520
Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 5 of 76 Page ID
                                 #:1683




                                                                      EX 39
                                                                       1521
Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 6 of 76 Page ID
                                 #:1684




                                                                      EX 39
                                                                       1522
Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 7 of 76 Page ID
                                 #:1685




                                                                      EX 39
                                                                       1523
Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 8 of 76 Page ID
                                 #:1686




                                                                      EX 39
                                                                       1524
Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 9 of 76 Page ID
                                 #:1687




                                                                      EX 39
                                                                       1525
Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 10 of 76 Page ID
                                 #:1688




                                                                      EX 39
                                                                       1526
Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 11 of 76 Page ID
                                 #:1689




                                                                      EX 39
                                                                       1527
Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 12 of 76 Page ID
                                 #:1690




                                                                      EX 39
                                                                       1528
Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 13 of 76 Page ID
                                 #:1691




                                                                      EX 39
                                                                       1529
Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 14 of 76 Page ID
                                 #:1692




                                                                      EX 39
                                                                       1530
Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 15 of 76 Page ID
                                 #:1693




                                                                      EX 39
                                                                       1531
Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 16 of 76 Page ID
                                 #:1694




         Attachment Y




                                                                      EX 39
                                                                       1532
Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 17 of 76 Page ID
                                 #:1695




                                                                      EX 39
                                                                       1533
Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 18 of 76 Page ID
                                 #:1696




          Attachment Z




                                                                      EX 39
                                                                       1534
Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 19 of 76 Page ID
                                 #:1697




                                                                      EX 39
                                                                       1535
Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 20 of 76 Page ID
                                 #:1698




                                                                      EX 39
                                                                       1536
Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 21 of 76 Page ID
                                 #:1699




                                                                      EX 39
                                                                       1537
Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 22 of 76 Page ID
                                 #:1700




                                                                      EX 39
                                                                       1538
Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 23 of 76 Page ID
                                 #:1701




                                                                      EX 39
                                                                       1539
Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 24 of 76 Page ID
                                 #:1702




                                                                      EX 39
                                                                       1540
Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 25 of 76 Page ID
                                 #:1703




                                                                      EX 39
                                                                       1541
Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 26 of 76 Page ID
                                 #:1704




                                                                      EX 39
                                                                       1542
Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 27 of 76 Page ID
                                 #:1705




                                                                      EX 39
                                                                       1543
Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 28 of 76 Page ID
                                 #:1706




                                                                      EX 39
                                                                       1544
Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 29 of 76 Page ID
                                 #:1707




                                                                      EX 39
                                                                       1545
Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 30 of 76 Page ID
                                 #:1708




                                                                      EX 39
                                                                       1546
Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 31 of 76 Page ID
                                 #:1709




                                                                      EX 39
                                                                       1547
Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 32 of 76 Page ID
                                 #:1710




                                                                      EX 39
                                                                       1548
Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 33 of 76 Page ID
                                 #:1711




                                                                      EX 39
                                                                       1549
Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 34 of 76 Page ID
                                 #:1712




                                                                      EX 39
                                                                       1550
Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 35 of 76 Page ID
                                 #:1713




                                                                      EX 39
                                                                       1551
Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 36 of 76 Page ID
                                 #:1714




                                                                      EX 39
                                                                       1552
Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 37 of 76 Page ID
                                 #:1715




                                                                      EX 39
                                                                       1553
Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 38 of 76 Page ID
                                 #:1716




                                                                      EX 39
                                                                       1554
Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 39 of 76 Page ID
                                 #:1717




                                                                      EX 39
                                                                       1555
Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 40 of 76 Page ID
                                 #:1718




                                                                      EX 39
                                                                       1556
Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 41 of 76 Page ID
                                 #:1719




                                                                      EX 39
                                                                       1557
Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 42 of 76 Page ID
                                 #:1720




                                                                      EX 39
                                                                       1558
Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 43 of 76 Page ID
                                 #:1721




                                                                      EX 39
                                                                       1559
Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 44 of 76 Page ID
                                 #:1722




                                                                      EX 39
                                                                       1560
Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 45 of 76 Page ID
                                 #:1723




                                                                      EX 39
                                                                       1561
Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 46 of 76 Page ID
                                 #:1724




                                                                      EX 39
                                                                       1562
Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 47 of 76 Page ID
                                 #:1725




                                                                      EX 39
                                                                       1563
Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 48 of 76 Page ID
                                 #:1726




                                                                      EX 39
                                                                       1564
Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 49 of 76 Page ID
                                 #:1727




       Attachment AA




                                                                      EX 39
                                                                       1565
Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 50 of 76 Page ID
                                 #:1728




                                                                      EX 39
                                                                       1566
Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 51 of 76 Page ID
                                 #:1729




                                                                      EX 39
                                                                       1567
Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 52 of 76 Page ID
                                 #:1730




                                                                      EX 39
                                                                       1568
Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 53 of 76 Page ID
                                 #:1731




       Attachment BB




                                                                      EX 39
                                                                       1569
Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 54 of 76 Page ID
                                 #:1732




                                                                      EX 39
                                                                       1570
Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 55 of 76 Page ID
                                 #:1733




                                                                      EX 39
                                                                       1571
Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 56 of 76 Page ID
                                 #:1734




                                                                      EX 39
                                                                       1572
Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 57 of 76 Page ID
                                 #:1735




                                                                      EX 39
                                                                       1573
Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 58 of 76 Page ID
                                 #:1736




                                                                      EX 39
                                                                       1574
Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 59 of 76 Page ID
                                 #:1737




                                                                      EX 39
                                                                       1575
Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 60 of 76 Page ID
                                 #:1738




                                                                      EX 39
                                                                       1576
Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 61 of 76 Page ID
                                 #:1739




                                                                      EX 39
                                                                       1577
Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 62 of 76 Page ID
                                 #:1740




                                                                      EX 39
                                                                       1578
Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 63 of 76 Page ID
                                 #:1741




       Attachment CC




                                                                      EX 39
                                                                       1579
   Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 64 of 76 Page ID
                                    #:1742
1/12/2018                                                        Michaelforce.com - Whois History - DomainTools




  Home >b Whois History >b Michaelforce.com



  Whois History for Michaelforce.com
                                                                                                                                         Ă
                                                                                                                  How does this work?



       Lookup Domain Ownership History

           michaelforce.com


                                                                                 LOOKUP




  b
              ONE-CLICK MONITORING
      Create a Domain Monitor to monitor future changes to “michaelforce.com”.

                                                                        Monitor Michaelforce.com




  b


       Enter a term to filter on




  Unique Records
                                                                                                                                expand all
                                                                                                                    bbprivate

  53 historical records found

      2017                                                                                                                         3 total

      2016                                                                                                                         3 total

      2015                                                                                                                         5 total

      2014                                                                                                                         5 total

      2013                                                                                                                         5 total

      2012                                                                                                                         5 total

      2011                                                                                                                         6 total

      2010                                                                                                                         9 total

      2009                                                                                                                         7 total

      2008                                                                                                                         4 total

      2007                                                                                                                         1 total

                                                                         scroll for more records                                         



       Whois Record for 2007-08-17
       Previous                                                                                                   Next (2008-03-05) »

       Domain:
        michaelforce.com

       Record Date: 2007-08-17
       Registrar:         NETWORK SOLUTIONS, LLC.
       Server:            whois.networksolutions.com
       Created:           2003-09-19
       Updated:           2006-10-10


https://research.domaintools.com/research/whois-history/search/?q=michaelforce.com                                                           1/2


                                                                                                                         EX 39
                                                                                                                          1580
   Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 65 of 76 Page ID
                                    #:1743
1/12/2018                                                            Michaelforce.com - Whois History - DomainTools
      Expires:     2013-09-19

      Reverse Whois:
      michael@michaelforce.com  bb customerservice@networksolutions.com 


       Registrant:
       Force, Michael

          Corona Del Mar, CA
          US

          Domain Name: MICHAELFORCE.COM

          Administrative Contact:
             Force, Michael

             Corona Del Mar, CA
             US
                   2984

          Technical Contact:
             Network Solutions, LLC.                   customerservice@networksolutions.com
             13861 Sunrise Valley Drive
             Herndon, VA 20171
             US
             1-888-642-9675 fax: 571-434-4620

          Record expires on 19-Sep-2013.
          Record created on 19-Sep-2003.

          Domain servers in listed order:

          NS9.WORLDNIC.COM                205.178.190.5
          NS10.WORLDNIC.COM               205.178.189.5




  b


                                                                                 Ŀ               ×
                                    Sitemap     Blog    Terms of Service   Privacy Policy   Contact Us   Domain News   © 2018 DomainTools




https://research.domaintools.com/research/whois-history/search/?q=michaelforce.com                                                                  2/2


                                                                                                                                            EX 39
                                                                                                                                             1581
Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 66 of 76 Page ID
                                 #:1744




       Attachment DD




                                                                      EX 39
                                                                       1582
  Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 67 of 76 Page ID
                                   #:1745
1/12/2018                                                    MichaelForce.com WHOIS, DNS, & Domain Info - DomainTools




  Home >b Whois Lookup >b MichaelForce.com



  Whois Record        for MichaelForce.com



           Find out more about Project Whois and DomainTools for Windows.




  ~ Whois & Quick Stats

   Risk Score        0                                                                                                                           z

   Email             abuse@godaddy.com is associated with ~16,412,651 domains                                                                bbz


   Registrant Org    Michael Force is associated with ~30 other domains                                                                          z

   Registrar         GoDaddy.com, LLC

   Registrar Status clientDeleteProhibited, clientRenewProhibited, clientTransferProhibited, clientUpdateProhibited

   Dates             Created on 2003-09-19 - Expires on 2018-09-19 - Updated on 2015-10-20                                                   bb z

   Name Server(s)    NS1.M2514.SGDED.COM (has 9,320 domains)                                                                                     z
                     NS2.M2514.SGDED.COM (has 9,320 domains)

   IP Address        96.127.189.58 - 24 other sites hosted on this server                                                                    bb z

   IP Location           - Illinois - Chicago - Singlehop Inc.

   ASN                   AS32475 SINGLEHOP-LLC - SingleHop, Inc., US (registered Jul 21, 2005)

   Domain Status     Registered And Active Website

   Whois History     53 records have been archived since 2007-08-17                                                                          bb z

   IP History        19 changes on 13 unique IP addresses over 12 years                                                                          z

   Registrar         2 registrars                                                                                                            bb z
   History

   Hosting History   3 changes on 4 unique name servers over 15 years                                                                            z

   Whois Server      whois.godaddy.com

  ~ Website

   Website Title         b Digital Altitude - Learn To Build A Digital Business And Elevate Your Income — Michael Force Oçcial Website       bb z

   Server Type       nginx

   Response Code     200

   SEO Score         75%

   Terms             1358 (Unique: 544, Linked: 42)

   Images            45 (Alt tags missing: 42)

   Links             33 b (Internal: 21, Outbound: 12)

  Whois Record ( last updated on 2018-01-12 )


    Domain Name: MICHAELFORCE.COM
    Registry Domain ID: 103777111_DOMAIN_COM-VRSN
    Registrar WHOIS Server: whois.godaddy.com
    Registrar URL: http://www.godaddy.com
    Updated Date: 2009-09-07T01:42:40Z
    Creation Date: 2003-09-19T11:33:58Z
    Registrar Registration Expiration Date: 2018-09-19T11:33:58Z
    Registrar: GoDaddy.com, LLC
    Registrar IANA ID: 146
    Registrar Abuse Contact Email: abuse@godaddy.com
    Registrar Abuse Contact Phone: +1.4806242505
    Domain Status: clientTransferProhibited http://www.icann.org/epp#clientTransferProhibited
    Domain Status: clientUpdateProhibited http://www.icann.org/epp#clientUpdateProhibited
    Domain Status: clientRenewProhibited http://www.icann.org/epp#clientRenewProhibited
    Domain Status: clientDeleteProhibited http://www.icann.org/epp#clientDeleteProhibited
    Registry Registrant ID: Not Available From Registry
    Registrant Name: Michael Force
    Registrant Organization:
    Registrant Street: 199 E. Flagler Street Suite #1850

https://whois.domaintools.com/michaelforce.com                                                                                                       1/2


                                                                                                                                         EX 39
                                                                                                                                          1583
  Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 68 of 76 Page ID
                                   #:1746
1/12/2018                                        MichaelForce.com WHOIS, DNS, & Domain Info - DomainTools
    Registrant City: Miami
    Registrant State/Province: Florida
    Registrant Postal Code: 33131
    Registrant Country: US
    Registrant Phone: +1.       9039
    Registrant Phone Ext:
    Registrant Fax:
    Registrant Fax Ext:
    Registrant Email:
    Registry Admin ID: Not Available From Registry
    Admin Name: Michael Force
    Admin Organization:
    Admin Street: 199 E. Flagler Street Suite #1850
    Admin City: Miami
    Admin State/Province: Florida
    Admin Postal Code: 33131
    Admin Country: US
    Admin Phone: +1.       9039
    Admin Phone Ext:
    Admin Fax:
    Admin Fax Ext:
    Admin Email:
    Registry Tech ID: Not Available From Registry
    Tech Name: Michael Force
    Tech Organization:
    Tech Street: 199 E. Flagler Street Suite #1850
    Tech City: Miami
    Tech State/Province: Florida
    Tech Postal Code: 33131
    Tech Country: US
    Tech Phone: +1.       9039
    Tech Phone Ext:
    Tech Fax:
    Tech Fax Ext:
    Tech Email:
    Name Server: NS1.M2514.SGDED.COM
    Name Server: NS2.M2514.SGDED.COM
    DNSSEC: unsigned
    URL of the ICANN WHOIS Data Problem Reporting System: http://wdprs.internic.net/




  Tools

                                                                    Whois History

                                                                   Hosting History

   Monitor Domain Properties                                                                                Ú

   Reverse Whois Lookup                                                                                     Ú

   Reverse IP Address Lookup                                                                                Ú

   Reverse Name Server Lookup                                                                               Ú

   Network Tools                                                                                            Ú

                                                                  Buy This Domain Ú

                                                                    Visit Website



                                                           4 Preview the Full Domain Report




https://whois.domaintools.com/michaelforce.com                                                                      2/2


                                                                                                            EX 39
                                                                                                             1584
Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 69 of 76 Page ID
                                 #:1747




       Attachment EE




                                                                      EX 39
                                                                       1585
Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 70 of 76 Page ID
                                 #:1748




                                                                      EX 39
                                                                       1586
Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 71 of 76 Page ID
                                 #:1749




        Attachment FF




                                                                      EX 39
                                                                       1587
      Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 72 of 76 Page ID
                                       #:1750
1/16/2018                                                      Livingexceptionally.com - Whois History - DomainTools




  Home >b Whois History >b Livingexceptionally.com



  Whois History for Livingexceptionally.com
                                                                                                                                               Ă
                                                                                                                       How does this work?



       Lookup Domain Ownership History

           livingexceptionally.com


                                                                                LOOKUP




  b
              ONE-CLICK MONITORING
      Create a Domain Monitor to monitor future changes to “livingexceptionally.com”.

                                                                      Monitor Livingexceptionally.com




  b

       Enter a term to filter on




  Unique Records
                                                                                                                                     expand all
                                                                                                                         bbprivate

  37 historical records found

      2017                                                                                                                              8 total

      2016                                                                                                                              4 total

      2015                                                                                                                              6 total

      2014                                                                                                                              6 total

      2013                                                                                                                             11 total

      2012                                                                                                                              2 total

                                                                          scroll for more records                                              



       Whois Record for 2017-11-25
       « Previous (2017-08-25)                                                                                                          Next

       Domain:
        livingexceptionally.com

       Record Date: 2017-11-25
       Registrar:         1&1 Internet SE
       Server:            whois.1and1.com
       Created:           2012-08-23
       Updated:           2017-08-24
       Expires:           2018-08-23

       Reverse Whois:

        abuse@1and1.com  bb hostmaster@1and1.com  bb foxymary@gmail.com 




https://research.domaintools.com/research/whois-history/search/?q=livingexceptionally.com                                                         1/2


                                                                                                                              EX 39
                                                                                                                               1588
      Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 73 of 76 Page ID
                                       #:1751
1/16/2018                                                      Livingexceptionally.com - Whois History - DomainTools

       Domain Name: livingexceptionally.com
       Registry Domain ID: 1740336567_DOMAIN_COM-VRSN
       Registrar WHOIS Server: whois.1and1.com
       Registrar URL: http://1and1.com
       Updated Date: 2016-08-24T07:11:54.000Z
       Creation Date: 2012-08-23T12:01:00.000Z
       Registrar Registration Expiration Date: 2018-08-23T12:01:00.000Z
       Registrar: 1&1 Internet SE
       Registrar IANA ID: 83
       Registrar Abuse Contact Email: abuse@1and1.com
       Registrar Abuse Contact Phone: +1.8774612631
       Reseller:
       Domain Status: ok https://www.icann.org/epp#ok
       Domain Status: autoRenewPeriod https://www.icann.org/epp#autoRenewPeriod
       Registry Registrant ID:
       Registrant Name: Mary Dee
       Registrant Organization:
       Registrant Street: 340 S LEMON AVE
       Registrant Street: #1976
       Registrant City: Walnut
       Registrant State/Province: CA
       Registrant Postal Code: 91789
       Registrant Country: US
       Registrant Phone: +1.2134446942
       Registrant Phone Ext:
       Registrant Fax:
       Registrant Fax Ext:
       Registrant Email: foxymary@gmail.com
       Registry Admin ID:
       Admin Name: Mary Dee
       Admin Organization:
       Admin Street: 340 S LEMON AVE
       Admin Street: #1976
       Admin City: Walnut
       Admin State/Province: CA
       Admin Postal Code: 91789
       Admin Country: US
       Admin Phone: +1.2134446942
       Admin Phone Ext:
       Admin Fax:
       Admin Fax Ext:
       Admin Email: foxymary@gmail.com
       Registry Tech ID:
       Tech Name: Hostmaster ONEANDONE
       Tech Organization: 1&1 Internet Inc.
       Tech Street: 701 Lee Rd.
       Tech Street: Suite 300
       Tech City: Chesterbrook
       Tech State/Province: PA
       Tech Postal Code: 19087
       Tech Country: US
       Tech Phone: +1.8774612631
       Tech Phone Ext:
       Tech Fax: +1.6105601501
       Tech Fax Ext:
       Tech Email: hostmaster@1and1.com
       Nameserver: ns-us.1and1-dns.us
       Nameserver: ns-us.1and1-dns.de
       Nameserver: ns-us.1and1-dns.org
       Nameserver: ns-us.1and1-dns.com
       DNSSEC: Unsigned
       URL of the ICANN WHOIS Data Problem Reporting System: http://wdprs.internic.net/



  b


                                                                              Ŀ               ×
                                    Sitemap   Blog   Terms of Service   Privacy Policy   Contact Us   Domain News   © 2018 DomainTools




https://research.domaintools.com/research/whois-history/search/?q=livingexceptionally.com                                                        2/2


                                                                                                                                         EX 39
                                                                                                                                          1589
Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 74 of 76 Page ID
                                 #:1752




                [PAGE INTENTIONALLY LEFT BLANK]




                                                                      EX 39
                                                                       1590
Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 75 of 76 Page ID
                                 #:1753




                                                                      EX 40
                                                                       159
Case 2:18-cv-00729-JAK-MRW Document 23-4 Filed 01/29/18 Page 76 of 76 Page ID
                                 #:1754




                                                                                Attachment A




                                                                      EX 40
                                                                       159
